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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-cv-61644-SINGHAL


  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,
  v.

  MJ CAPITAL FUNDING, LLC, MJ TAXES
  AND MORE, INC., and JOHANNA M. GARCIA,
       Defendants.
                                    /

                   MOTION TO QUASH SUBPOENA(S) TO TESTIFY AT
              A DEPOSITION AND TO PRODUCE DOCUMENTS INFORMATION
                      OR OBJECTS OR TO PERMIT INSPECTION

         Non-party respondent, PAVEL RUIZ, hereby moves this Court pursuant to Federal

  Rule of Civil Procedure 45(d)(3) to enter an Order quashing the subpoena to testify at

  deposition and the subpoena to produce to protect Ruiz from having to appear for

  deposition and/or turn over the lengthy list of documents and/or disclose the information

  sought. In support of this request, Ruiz states the following:

         1.      Ruiz was issued two subpoenas. One subpoena requires Ruiz to produce

  by Monday, October 11, 2021, at 5:00 p.m. a long list of documents, communications

  and/or information, including information stored in any electronic device. See Exhibit A -

  Subpoena to Produce (hereafter “Production Subpoena”). The other is a subpoena to

  appear for deposition on Friday, October 15, 2021, at 10:00 a.m. See Exhibit B - -

  Subpoena to Testify at Deposition (hereafter “Deposition Subpoena”). Both subpoenas

  were issued by Carl Schoeppl and Terry Gray, attorneys for Johanna Garcia.
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         2.       A review of the docket for this matter reveals 3 details that make it abundantly

  clear that Ruiz cannot and should not be compelled to testify and/or produce anything.

  First, the SEC filed a Complaint against Ms. Garcia and her corporate entities alleging that

  she is the mastermind of a multi-million dollar Ponzi scheme. DE #1. Second, Ms. Garcia

  revealed in her Answer that a parallel criminal investigation into this conduct is taking place

  and, as a result, she has to invoke her Fifth Amendment privilege against self-

  incrimination.1 DE #44. Third, on October 5, 2021, the Receiver sought to expand its

  receivership to include assets allegedly controlled by Ruiz. The motion details Ruiz’s

  alleged involvement in and connection to the Defendants. The first line of Paragraph 24

  provides the very reason why Ruiz can and must invoke his Fifth Amendment privilege

  against self-incrimination in response to these subpoenas. It reads:

         Mr. Ruiz used the Pavel Companies as an instrumentality of the fraud and
         to perpetuate the Ponzi scheme.

  DE #67. It is only a matter of time before that parallel criminal investigation described

  becomes a criminal Indictment.

         3.       The Fifth Amendment privilege is not confined to the criminal arena. A party

  may invoke the privilege during a deposition in a civil proceeding where he has a

  reasonable belief that the answers to direct questions would provide a link in the chain of

  evidence necessary to prove a crime against him. Pillsbury Co. v. Conboy, 459 U.S. 248,

  270 (1983) (Holding deponent cannot be compelled to repeat previously immunized



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            Frankly, Ruiz is at a loss as to Ms. Garcia’s motivation in seeking sworn
     testimony and/or documentary evidence from him.

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  testimony because he “would face a realistic risk that his testimony would lead to further

  incriminating evidence that he would be unable to exclude at a subsequent criminal

  prosecution”). Based on the allegations made by the SEC, the Receiver, and Ms. Garcia’s

  own acknowledgment that there is a concurrent criminal investigation into the SEC’s fraud

  allegations, Ruiz has validly invoked his privilege against self-incrimination. Without

  detailing all the reasons why, any response to questions relating to individuals and/or

  businesses that were allegedly involved in fraud certainly pose a danger to the person

  answering the question.

         4.     Moreover, in light of the fraud allegations, the production of the items

  requested in the Production Subpoena is also protected by the Fifth Amendment. Fisher

  v. United States, 425 U.S. 391, 410 (1976)(“The act of producing evidence in response to

  a subpoena nevertheless has communicative aspects of its own, wholly aside from the

  contents of the papers produced. Compliance with the subpoena tacitly concedes the

  existence of the papers demanded and their possession or control by the [individual]”).

  While the production of documents is not spoken, it is testimonial nonetheless. In addition

  to items related to entities Ms. Garcia controls and, therefore, likely already possesses, she

  wishes for Ruiz to provide records relating to businesses named by the Receiver as

  allegedly being used by Ruiz to participate in Ms. Garcia’s fraud scheme. The very act of

  producing records of this nature demonstrates access, control and the suggestion that the

  documents are authentic. Such acts are also protected by the Fifth Amendment.




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  Michael Mirer




                    Exhibit “A”
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                     Exhibit “B”
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          WHEREFORE, Ruiz respectfully requests this Court quash the two subpoenas

   issued by Ms. Garcia’s counsel.


                                                     Respectfully submitted,


                                                       /s/ Michael Mirer
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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

   electronically and served on all counsel of record using the cm/ecf filing system this 8th day

   October, 2021.


                                                       /s/ Michael Mirer
                                                     MICHAEL MIRER, ESQ.




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